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                  INES S. CROSBY
              7
              8                               UNITED STATES DISTRICT COURT
              9                               EASTERN DISTRICT OF CALIFORNIA
             10                                   SACRAMENTO DIVISION
             11
                  UNITED STATES OF AMERICA,                   Case No. 2:17-CR-00006-MCE
             12
                                Plaintiff,                    WAIVER OF DEFENDANT’S PERSONAL
             13                                               PRESENCE AND ORDER THEREON
                         v.
             14                                               Date:         March 8, 2018
                  JOHN A. CROSBY, INES S. CROSBY, and         Time:         10:00 a.m.
             15   LESLIE A. LOHSE,                            Courtroom:    7
                                                              Judge:        Morrison C. England, Jr.
             16                 Defendants.
                                                              Date Filed: January 5, 2017
             17
                                                              Trial Date: Not Set
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                              WAIVER OF DEFENDANT’S PERSONAL PRESENCE AND ORDER THEREON
             31                                 Case No. 2:17-CR-0006-MCE
1247055.01
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              1          Pursuant to Fed. R. Crim. P. 43, Defendant Ines S. Crosby, having been advised of her
              2   right to be present at all stages of the proceedings, hereby waives the right to be present in person
              3   in open court upon the hearing of any motion or other proceeding in this case, including, but not
              4   limited to, when the case is set for trial, when a continuance is ordered, and when any other action
              5   is taken by the Court before or after trial, except upon arraignment, initial appearance, trial
              6   confirmation hearing, entry of plea, and every stage of trial including verdict, empanelment of
              7   jury and imposition of sentence.
              8          Defendant hereby requests the Court to proceed during every absence of hers which the
              9   Court may permit pursuant to this waiver and agrees that her interests will be deemed represented
             10   at all times by the presence of her attorney, the same as if the defendant were personally present.
             11   Specifically, Defendant requests that the Court proceed in her absence during the upcoming
             12   further status conference set for March 8, 2018. Defendant will be away on a previously planned
             13   family vacation (approved by Pre-Trial Services) on that date.
             14          Defendant further agrees to be present in Court ready for trial any day and hour the Court
             15   may fix in her absence. Defendant further agrees that notice to Defendant’s attorneys that
             16   Defendant’s presence is required will be deemed notice to the Defendant of the requirement of
             17   her appearance at said time and place.
             18          Defendant further acknowledges that she has been informed of her rights under Title 18
             19   U.S.C. §§ 3161-3174 (The Speedy Trial Act) and authorizes her attorney to set times and delays
             20   under that Act without her personal presence.
             21
                  Dated: February 16, 2018
             22
                                                                          INES S. CROSBY
             23
                         I concur in Ms. Crosby’s decision to waive her presence at future proceedings.
             24
                  Dated: February 16, 2018                                KEKER, VAN NEST & PETERS LLP
             25
             26                                                    By:    /s/ Erin E. Meyer
                                                                          ERIN E. MEYER
             27
                                                                          Attorneys for Defendant
             28                                                           INES S. CROSBY
             30                                                     1
                                WAIVER OF DEFENDANT’S PERSONAL PRESENCE AND ORDER THEREON
             31                                   Case No. 2:17-CR-0006-MCE
1247055.01
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              1                                             ORDER
              2          Good cause having been shown and pursuant to the foregoing, Defendant Ines S. Crosby’s

              3   appearance may be waived at the further status conference on March 8, 2018.

              4          IT IS SO ORDERED.

              5   Dated: February 21, 2018
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                               WAIVER OF DEFENDANT’S PERSONAL PRESENCE AND ORDER THEREON
             31                                  Case No. 2:17-CR-0006-MCE
1247055.01
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